     Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 1 of 12



                     IN THE UNITED STATES DISCTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


ANGELICA ARTEAGA                            §
                                            §
       Plaintiff,                           §
                                            §
v.                                          §       C.A. No. ____________________________
                                            §
PDVSA SERVICES, INC.                        §
                                            §
       Defendant.                           §       (JURY TRIAL DEMANDED)


                         PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE UNITED STATES DISTRICT COURT:

       COMES NOW, Plaintiff, Angelica Arteaga, filing her Original Complaint complaining of

Defendant, PDVSA Services, Inc., (PDVSA) and in support thereof would show as follows:


                                         I.
                         JURISDICTION, PARTIES, AND VENUE

       1.1 This Court has jurisdiction over the causes of action alleged by Plaintiff pursuant to:

          (i) Title VII of the Civil Rights Act of 1964, as amended and (ii) 42 U.S.C. Section

          1981.

       1.2 Angelica Arteaga resides in Harris County, Texas. Plaintiff Arteaga is protected by

          Title VII and 42 U.S.C. Section 1981. Plaintiff Arteaga was at all relevant times an

          employee within the meaning of the applicable statutes.

       1.3 Defendant operates in Houston, Texas. Defendant was at all times Plaintiff’s employer

          within the meaning of the aforementioned applicable statutes.
   Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 2 of 12



     1.4 Defendant engaged in an industry affecting commerce and employed more than fifteen

        (15) regular employees.

     1.5 The employment practices alleged to be unlawful herein were committed within the

        Southern District of Texas, Houston Division. Venue is appropriate in this Court.


VICARIOUS LIABILITY – RESPONDEAT SUPERIOR

     1.6 Whenever in this complaint it is alleged that Defendant did any act or thing, it is meant

        that the Defendant’s supervisors, agents, servants, employees, or representatives did

        such act and/or that at that time such act was done, it was done with the full

        authorization or ratification of Defendants, or was done in the normal and routine

        course and scope of employment of Defendant’s supervisors, agents, servants,

        employees, or representatives.

     1.7 The acts of management were performed while in the employment of Defendant, to

        further Defendant’s business, to accomplish the objective for which said managers

        were hired, and within the course and scope of that employment or within the authority

        delegated to said employees.


                                  II.
                 EXHAUSTION OF ADMINISTRATIVE REMEDIES

     2.1 Plaintiff Arteaga filed a Charge of Discrimination with the United States Equal

     Employment Opportunity Commission. In that Charge, No. 460-2018-00570, and any

     amendments and/or attachments thereto, Plaintiff Arteaga asserted that Defendant

     discriminated against her based on her race and national origin, and retaliated against her

     after she lodged internal complaints of, and opposition to, discrimination based on race,

     gender, and national origin of others.
Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 3 of 12



 2.2 Therefore, Plaintiff was forced to file this suit in order to protect her employment rights.

 Plaintiff has exhausted her administrative remedies and files this suit within the statutory

 limitations period.


                                     III.
                            FACTUAL BACKGROUND

 3.1 Angelica Arteaga, Mexican American, remembers fondly the day she was invited to

 interview with PDVSA Services Incorporated (hereinafter “PDVSA”). She prepared for,

 and attended, the interview. There, she met General Manager Yllermina Celis. Ms. Celis

 seemed pleasant enough until she began asking Plaintiff Arteaga questions that were far

 outside the scope of lawfully permissible questions. Ms. Celis asked about Plaintiff

 Arteaga’s age, marital status, whether she had children, and the country of her national

 origin. This greatly concerned Plaintiff Arteaga. Plaintiff Arteaga assured Ms. Celis that

 she was the best person for the job despite her personal background.

 3.2     On or about October 2, 2017, Plaintiff Arteaga began employment with the

 Defendant as a Human Resources Supervisor in very high spirits and determined to make

 good of this opportunity. Plaintiff Arteaga went to work and worked as hard as she could.

 Plaintiff Arteaga did her best to fit in and was never a disciplinary problem. Simply put,

 she worked impeccably and without incident.

 3.3     Plaintiff Arteaga took personal pride in her work. She was happy. But things were

 about to change…. for the worse.

 3.4     Plaintiff Arteaga was given a curious assignment. She was initially ordered to

 handle the paperwork so that PDVSA could sponsor an employment-based permanent
     Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 4 of 12



       residence visa for General Manager Celis.1 She gathered all the applicable paperwork

       including PDVSA’s internal policies (e.g., Company Sponsorship for Permanent Resident

       Status) related to my task and reviewed them carefully. Plaintiff Arteaga had serious

       concerns based on her review including learning that employees from other countries

       besides Venezuela were also interested in same.

       3.5       Armed with all this information, Plaintiff Arteaga informed General Manager Celis

       that: (i) PDVSA’s policies did not allow it to sponsor her for residency and (ii) there could

       be an outcry of discrimination by other employees who wanted the same company

       sponsorship. In response, General Manager Celis said curtly, “I’m the general manager and

       I can change the policy. You need to change the policy [to allow for it] and I will sign off

       on it.”

       3.6       Stunned, Plaintiff Arteaga relayed the aforementioned to Finance Manager Tim

       Marshman. The consensus was that Plaintiff Arteaga should get the professional opinion

       of an attorney who specializes in employment law.

       3.7       Plaintiff Arteaga next contacted Attorney Amit Misra for legal guidance on or about

       October 27, 2017. Mr. Misra affirmed that Plaintiff Arteaga’s concerns regarding legal

       exposure were legitimate and reduced his opinions to writing on October 30, 2017.

       3.8       In the interim, General Manager Celis upped her ask. She ordered that Plaintiff

       Arteaga also work on sponsorship for Venezuelan Secretary/Assistant Carol Romero. On

       its face, Ms. Romero did not qualify for sponsorship pursuant to the Company Sponsorship



1
 At the time of Plaintiff Arteaga’s employment, Ms. Celis was presently working in the United
States on a temporary work visa from Venezuela.
Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 5 of 12



 for Permanent Resident Status policy on more than one front. General Manager Celis

 remedied this by ordering that the policy be amended to also allow for sponsorship of Ms.

 Romero.

 3.9    Plaintiff Arteaga verbalized her opposition to selectively sponsoring some foreign

 nationals and not others and women and not men. Plaintiff Arteaga advocated consistency

 and equality regardless of national origin and gender. General Manager Celis became

 viscerally upset. She flatly refused to sponsor employment -based visas for those

 employees who were non-Venezuelan born and male.

 3.10   Even after General Manager Celis read the legal opinion of Attorney Misra, she

 remained steadfast in her position. She told Plaintiff Arteaga that Plaintiff Arteaga was

 “over-reacting.” She threatened that Plaintiff Arteaga should not tell anyone about her

 mandate. And, General Manager Celis assured Plaintiff Arteaga that such was “not

 discrimination.”

 3.11   Plaintiff Arteaga was extremely nervous. Plaintiff Arteaga had already emailed the

 Board of Directors seeking clarity on such mandate and now General Manager Celis had

 ordered her silence. Corporate Compensation and Benefits Management Lisbeth Andreina

 Ruiz responded quickly. She interrogated m Plaintiff Arteaga about General Manager

 Celis’ request for sponsorship. Ms. Ruiz asked Plaintiff Arteaga to reduce General

 Manager Celis’ mandates to writing; Plaintiff Arteaga complied.

 3.12   On or about November 8, 2017, Plaintiff Arteaga told General Manager Celis that

 she had been communicating with the Board of Directors and Ms. Ruiz – specifically –

 about the sponsorship application process. General Manager Celis became livid. She
 Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 6 of 12



  retorted, “You were not supposed to go to them.” General Manager Celis kept shaking her

  head and saying, “No. No. No.” General Manager Celis forbade Plaintiff Arteaga from

  attending any more work-related meetings slated for that day.

  3.13   The next day, Plaintiff Arteaga observed General Manager Celis in a sense of panic.

  In fact, General Manager Celis refused to even speak with Plaintiff Arteaga. Plaintiff

  Arteaga phoned Ms. Ruiz for help. Ms. Ruiz responded, “You did nothing wrong.”

  3.14   Anxiety and worry set in for Plaintiff Arteaga. she felt very ill. Consequently,

  Plaintiff Arteaga took Friday, November 10, 2017 off. Despite recuperating at home,

  Plaintiff Arteaga asked Ms. Ruiz to intervene. Plaintiff Arteaga felt her job was in

  jeopardy. Plaintiff Arteaga was right.

  3.15   Monday, November 13, 2017, Plaintiff Arteaga reached out to Ms. Ruiz again.

  Plaintiff Arteaga wanted assurances that Plaintiff Arteaga would not be retaliated against

  for her advocacy for fairness. Plaintiff Arteaga did not hear back from Ms. Ruiz.

  3.16   Next, Plaintiff Arteaga utilized the company’s grievance policy. She had no choice

  but to inform General Manager Celis that she [Plaintiff Arteaga] essentially wanted to

  complain formally about Ms. Celis’ unfair business practices. It was awkward nonetheless,

  but it was Defendant’s policy. And in turn, Ms. Celis thanked me for Plaintiff Arteaga’s

  services and discharged her.

                                        IV.
                                 CAUSES OF ACTION

A. NATIONAL ORIGIN DISCRIMINATION PURSUANT TO TITLE VII AND 42
   USC SECTION 1981
Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 7 of 12



 4.1 Plaintiff repeats and re-alleges by reference each and every allegation contained in the

 paragraphs above and incorporate the same herein as though fully set forth.

 4.2 Defendant engaged in unlawful national origin discrimination by subjecting Plaintiff

 Arteaga to assignments that required her to discriminate against PDVSA’s employees in

 regards to their national origin as outlined above.

 4.3 The above-described assignments created an intimidating, oppressive, hostile

 environment, which interfered with Plaintiff’s emotional and physical well-being.

 4.4 Defendant at all times relevant hereto had actual knowledge of the conduct described

 in the paragraphs above in large part because of Plaintiff’s outcries and the open and

 obvious nature of the misconduct that permeated.

 4.5 As a result of the hostile and offensive environment perpetrated by Defendant through

 its agents, supervisors, or employees, and maintained by Defendant’s failure to protect

 Plaintiff Arteaga from further discrimination and instead causing the discharge of Plaintiff

 Arteaga caused her to suffer severe emotional distress and physical injury.

 4.6 As a direct and proximate result of Defendant’s willful, knowing, and intentional

 discrimination against Plaintiff Arteaga through its agents, supervisors, or employees,

 Plaintiff Arteaga has suffered and will continue to experience pain and suffering, and

 extreme and severe mental anguish and emotional distress; she has incurred and/or will

 incur medical expenses for treatment by healthcare professionals, and for other incidental

 expenses; and she has suffered and/or will continue to suffer a loss of earnings and other

 employment benefits and job opportunities. Plaintiff Arteaga is thereby entitled to general

 and compensatory damages in amounts to be proven at trial and all other relief outlined

 further herein as per statutory relief.
 Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 8 of 12




B. RACE DISCRIMINATION PURSUANT TO TITLE VII AND 42 USC SECTION
   1981

  4.7 Plaintiff repeats and re-alleges by reference each and every allegation contained in the

  paragraphs above and incorporate the same herein as though fully set forth.

  4.8 Defendant, through its agents, supervisors, and employees engaged in unlawful race

  discrimination by subjecting Plaintiff Arteaga to assignments that required her to

  discriminate against PDVSA’s employees in regard to their race as outlined above.

  4.9 The above-described assignments created an intimidating, oppressive, hostile

  environment, which interfered with Plaintiff’s emotional and physical well-being.

  4.10 Defendant at all times relevant hereto had actual knowledge of the conduct described

  in the paragraphs above in large part because of Plaintiff’s outcries and the open and

  obvious nature of the misconduct that permeated.

  4.11 As a result of the hostile and offensive environment perpetrated by the Defendant

  through its agents, supervisors, and employees, and maintained by Defendant’s failure to

  protect Plaintiff Arteaga from further discrimination and instead causing the discharge of

  Plaintiff Arteaga caused her to suffer severe emotional distress and physical injury.

  4.12 As a direct and proximate result of Defendant’s willful, knowing, and intentional

  discrimination against Plaintiff Arteaga through its agents, supervisors, and employees,

  Plaintiff Arteaga has suffered and will continue to experience pain and suffering, and

  extreme and severe mental anguish and emotional distress; she has incurred and/or will

  incur medical expenses for treatment by healthcare professionals, and for other incidental

  expenses; and she has suffered and/or will continue to suffer a loss of earnings and other

  employment benefits and job opportunities. Plaintiff Arteaga is thereby entitled to general
 Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 9 of 12



  and compensatory damages in amounts to be proven at trial and all other relief outlined

  further herein as per statutory relief.

C. RETALIATION PURSUANT TO TITLE VII AND 42 USC SECTION 1981

  4.13 Plaintiff repeats and re-alleges by reference each and every allegation contained in the

  paragraphs above and incorporate the same herein as though fully set forth.

  4.14 After challenging the discrimination of PDVSA’s employees based on their national

  origin, gender, and race as outlined above, Plaintiff Arteaga was subsequently harassed,

  isolated, and discharged.

  4.15 Defendant had no legitimate business reasons for any such acts. Each act of retaliation

  is in violation of Title VII and 42 USC Section 1981’s anti-retaliation provisions.

  4.16 As a direct and proximate result of Defendant’s willful, knowing, and intentional

  discrimination and retaliation against her, Plaintiff Arteaga has suffered and will continue

  to suffer pain and suffering, and extreme and severe mental anguish and emotional distress.

  Plaintiff Arteaga is thereby entitled to general, compensatory, and punitive damages in

  amounts to be proven at trial and all other and further relief outlined further herein as per

  statutory relief.

  4.17 The above-described acts of Defendant’s part were undertaken in violation of Title

  VII and 42 USC Section 1981 and proximately caused Plaintiff Arteaga substantial injuries

  and damages.


                                         V.
                                    JURY DEMAND

  5.1 Plaintiff requests that this action be heard before a jury.
Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 10 of 12



                                      VI.
                                    DAMAGES

 6.1 Defendant’s conduct constitutes violations of statutory and common law. Such

 unlawful conduct seriously affects Plaintiff Arteaga in her occupation, trade, and business.

 Because of Defendant’s unlawful conduct, Plaintiff has suffered, suffers, and will continue

 to suffer humiliation, stress, and other damages. Plaintiff has suffered direct injury as a

 proximate result of the unlawful practices, policies, and procedures of the Defendant.

 Accordingly, Plaintiff Arteaga seeks all general, special, incidental, economic,

 compensatory, punitive, and consequential damages in an amount to be proved at trial

 including punitive damages.

 6.2 Because of Defendant’s unlawful and tortuous conduct, it has been necessary for

 Plaintiff Arteaga to retain the undersigned attorney to represent her in these causes of

 action. Plaintiff has agreed to pay her attorney reasonable attorney’s fees for the

 preparation and trial of these causes, and further for any appeal thereof should same

 become necessary.

 6.3 Additionally, Plaintiff Arteaga has incurred out-of-pocket expenses, which include

 litigation costs and other expenses to preserve her ability to earn a living. Accordingly,

 Plaintiff Arteaga seeks all general, special, incidental, and consequential damages as shall

 be proven at trial.

 6.4 Further, Plaintiff Arteaga seeks pre-judgment interest at a rate commensurate with the

 actual rate of interest in the marketplace or, alternatively, the statutory rate of interest

 because of the delay in receiving the damages and to avoid unjust enrichment to the

 Defendant. Plaintiff Arteaga also seeks post-judgment interest at the maximum rate
     Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 11 of 12



       allowed by law in the event the Defendant does not promptly tender damages assessed

       against them and to avoid unjustly enriching the Defendant.


                                                VII.
                                              PRAYER

WHEREFORE, premises considered, Plaintiff prays that the Defendant be cited to appear and

answer herein, and that on final trial, Plaintiff have judgment against the Defendant for:



       a. Permanent injunction enjoining the Defendant, its agents, successors, employees, and

           those acting in consort with the Defendant from engaging in any employment practice

           which discriminates on the basis of national origin, race, and gender and participates in

           retaliation as outlined above;

       b. All damages to which Plaintiff may be entitled pursuant to this Complaint, or any

           amendment(s) thereto, including but not limited to back pay, reinstatement or front pay

           in lieu of reinstatement, loss of earnings in the past, loss of earning capacity in the

           future, loss of benefits in the past, loss of benefits in the future, statutory relief at law,

           and equity;

       c. Compensatory damages for pain and mental suffering in the past and future;

       d. Punitive damages in an amount above the minimum jurisdictional limit of the Court;

       e. Reasonable attorney’s fees with conditional awards in the event of appeal;

       f. Pre-judgment interest at the highest rate permitted by law;

       g. Post-judgment interest from the judgment until paid at the highest interest rate

           permitted by law;
Case 4:19-cv-02321 Document 1 Filed on 06/28/19 in TXSD Page 12 of 12



 h. Costs of court and expert witness fees incurred by Plaintiff in the preparation and

    prosecution of this action; and

 i. Such other and further relief, at law or in equity, to which Plaintiff may be entitled,

    whether by this Complaint or by any amendment hereto.


                                              Respectfully submitted,

                                              /s/ Katrina Patrick

                                              ___________________________________
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